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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 8
        UNITED STATES OF AMERICA,                            CASE NO. CR11-5408RJB
 9
                                Plaintiff,                   ORDER DENYING MOTION FOR
10
                                                             RECONSIDERATION OF MOTION
                v.                                           TO SUPPRESS AND FOR
11
                                                             SUPPRESSION OF EVIDENCE
        ALEXANDER WALLS,
12
                                Defendant.
13

14           This matter comes before the court on the above-referenced motion (Dkt. 129). The court

15 is familiar with the records and files herein and documents filed in support of the motion. No

16 response has been requested pursuant to Western District of Washington Local Criminal Rule

17 12(c)(11).

18           In response to this motion, the court has carefully read the entire transcript of the

19 suppression hearing held on November 18, 2011, including the court’s oral opinion and the

20 exhibits filed at that time. This motion for reconsideration included a copy of the Tacoma Police

21 Department Arrest Report, at Docket No. 130-1, which was referenced at the suppression

22 hearing, but was not at that time placed into evidence. The court has carefully considered that

23 report.

24
     ORDER DENYING MOTION FOR
     RECONSIDERATION OF MOTION TO
     SUPPRESS AND FOR SUPPRESSION OF
     EVIDENCE- 1
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 1          Though not in evidence at the suppression hearing, the court was then aware that a police

 2 report on the arrest of defendant had been filed, but did not mention the matter of advance

 3 knowledge of Mr. Irvin’s suspended driver’s license. Docket Number 130-1, the actual report,

 4 confirms what the court was aware of at the time of the suppression hearing.

 5          While the fact that the status of Mr. Irvin’s license, and the resulting justification for

 6 stopping the subject vehicle, was not mentioned in the report certainly raises suspicion about the

 7 testimony adduced at the hearing, that the witnesses Berg, Martin and Treat knew about Irvin’s

 8 suspended license status before the traffic stop and used that knowledge as a basis for the traffic

 9 stop. In spite of that suspicion and the less-than-complete report, however, the court believed the

10 testimony of the witnesses Berg, Martin and Treat. After considering the report, the total

11 evidence submitted at the hearing and defendant’s additional briefing, the court reaches the same

12 conclusion; that is, that the witnesses Berg, Martin and Treat were truthful and that the traffic

13 stop of the subject vehicle was appropriate and did not violate defendant’s constitutional rights in

14 any way.

15          Accordingly, the Motion for Reconsideration of Motion to Suppress and For Suppression

16 of Evidence (Dkt. 129) should be DENIED.

17          IT IS SO ORDERED.

18          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

19 to any party appearing pro se at said party’s last known address.

20          Dated this 29th day of October, 2012.



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                                           ROBERT J. BRYAN
23
                                           United States District Judge
24
     ORDER DENYING MOTION FOR
     RECONSIDERATION OF MOTION TO
     SUPPRESS AND FOR SUPPRESSION OF
     EVIDENCE- 2
